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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

UNITED STATES OF AMERICA                          §
                                                  §
                                                  §
                                                  §
VS.                                               §     CRIMINAL NO. H-10-513
                                                  §
                                                  §
                                                  §
RONALD HOWARD GIBBS, et al.                       §

                                            ORDER

       The court held a pretrial conference in this case on December 8, 2010. The government and

the defendants orally requested a motion for continuance. The court finds that the interests of

justice are served by granting this continuance and that those interests outweigh the interests of the

public and the defendants in a speedy trial. The motion for continuance is GRANTED. The docket

control order is amended as follows:

       Motions are to be filed by:                     May 2, 2011
       Responses are to be filed by:                   May 16, 2011
       Interim Pretrial Conference is set for:         January 27, 2011, at 8:45 a.m.
       Competency Hearing is set for:                  February 2, 2011, at 10:00 a.m.
       Suppression Hearing is set for:                 March 30, 2011, at 10:00 a.m.
       Final Pretrial conference is reset to:          May 23, 2011, at 8:45 a.m.
       Jury trial and selection are reset to:          May 31, 2011, at 9:00 a.m.


               SIGNED on December 9, 2010, at Houston, Texas.

                                                      ______________________________________
                                                               Lee H. Rosenthal
                                                         United States District Judge
